

Schwartz v Schwartz (2025 NY Slip Op 02541)





Schwartz v Schwartz


2025 NY Slip Op 02541


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, NOWAK, AND DELCONTE, JJ. (Filed Apr. 25, 2025.) 


MOTION NO. (885/24) CA 24-00556.

[*1]MELINDA SCHWARTZ, PLAINTIFF-RESPONDENT,
vDANIEL A. SCHWARTZ, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








